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UNITED STATES OF AMER|CA

 

P|aintiff

VS.
CR. NO. 04-20405-D

MARANDO BACHUS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTlNG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to Ootober 3, 2005 with a

report date of Thursda)¢l Se|:_)tember 22, 200`5. at 9:00 a.m., in Courtroom 3, 9th F|oor
of the Federal Bui|ding, Nlemphis, TN.

 

 

The period from September 16, 2005 through October 14, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this _Al day of September1 2005.

 

N|TED STATES D|STR|CT JUDGE

This document entered on the docket ha tin compliance
with Hule 55 and/or 32{b) FHCrP on §" "05 3b

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CR-20405 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

